Case 2:21-cv-10163-GAD-APP ECF No. 28-18, PageID.1159 Filed 02/19/21 Page 1 of 29




                               EXHIBIT 17
        Case 2:21-cv-10163-GAD-APP
1/24/2021                                               ECFhttps://detroitit.zendesk.com/tickets/471855/print
                                                             No. 28-18, PageID.1160 Filed 02/19/21 Page 2 of 29

          #471855 Equipment that need to be whitelisted

    Submitted                                  Received via      Requester
    December 7, 2020, 7:25 PM                  Mail              srendon@detroitaxle.com <srendon@detroitaxle.com>

    CCs
    Ossiel Villanueva <ovillanueva@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          Normal         Support (all)     Jason B.



    srendon@detroitaxle.com December 7, 2020, 7:25 PM
    Hi team,

    Idali require access to social media, so please whitelist this computer

    Macs-MBP /

    Thanks

    Sofía Rendón
    IT Support
    srendon@detroitaxle.com

    Cd. Juarez Chihuahua

    Jason B. December 8, 2020, 8:29 AM
    Hi Sofia,

    Macs-MBP /                                has been whitelisted.

    Thanks,
    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

                                                            Support Software by Zendesk




                                                                                          Detroit IT - Hearing 2-8-21 000019
https://detroitit.zendesk.com/tickets/471855/print                                                                             1/1
        Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/478879/print
                                                            No. 28-18, PageID.1161 Filed 02/19/21 Page 3 of 29

          #478879 Ozlink Down

    Submitted                                Received via   Requester
    January 11, 2021, 8:22 AM                Web Form       James Johnson <jjohnson@detroitaxle.com>

    Status        Type       Priority       Group                Assignee
    Closed        -          High           Escalation Support   Eric G.

    Current Password               Phone #
    NA                             313-657-8775 (Cell)


    Stephanie M. Jan 11, 8:22 AM
    James called to report that Ozlink is not working this morning.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Stephanie M. Jan 11, 8:32 AM
    I spoke to James and he confirmed that Ozlink is working now.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

                                                       Support Software by Zendesk




                                                                                      Detroit IT - Hearing 2-8-21 000020
https://detroitit.zendesk.com/tickets/478879/print                                                                         1/1
        Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/478678/print
                                                            No. 28-18, PageID.1162 Filed 02/19/21 Page 4 of 29

          #478678 Ozlink Down

    Submitted                                  Received via      Requester
    January 10, 2021, 12:08 PM                 Mail              James Johnson <jjohnson@detroitaxle.com>

    Status        Type       Priority       Group                  Assignee
    Closed        -          Normal         Escalation Support     Eric G.

    Submitted via
    Phone


    Pat Jan 10, 12:08 PM
    Eric Grundlehner,
    Your message from box 300-3889 is as follows...

    Date of Lead: 1/10/2021 12:07:55 PM
    Service Number: (248) 633-8707
    Mailbox Name: Eric Grundlehner
    Name: James Johnson
    Caller ID: (313) 657-8775
    Questions and Answers:
    What is your company name?
    Detroit Axle

    May I have your email address?
    jamesjohnsonjae4@gmail.com

    May I have your phone number please?
    313-657-8775

    Brief Description of the Issue:
    Mr. Johnson stated that his server has gone down.

    Is this an emergency?
    Yes

    PAT: Was the caller transferred?
    Yes

    If YES: Who was the call transferred to?
    Stephanie

    Comments

    This lead is for:
    Sunday

    Stephanie M. Jan 10, 6:50 PM
    I spoke to James and the equipment in Ferndale was down. We went onsite and were able to get the equipment
    online and they were able to use Ozlink.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com


                                                                                          Detroit IT - Hearing 2-8-21 000021
https://detroitit.zendesk.com/tickets/478678/print                                                                             1/2
        Case 2:21-cv-10163-GAD-APP
1/24/2021                                            ECFhttps://detroitit.zendesk.com/tickets/478678/print
                                                          No. 28-18, PageID.1163 Filed 02/19/21 Page 5 of 29
    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                   Detroit IT - Hearing 2-8-21 000022
https://detroitit.zendesk.com/tickets/478678/print                                                                      2/2
        Case 2:21-cv-10163-GAD-APP
1/24/2021                                                  ECFhttps://detroitit.zendesk.com/tickets/473204/print
                                                                No. 28-18, PageID.1164 Filed 02/19/21 Page 6 of 29

          #473204 Handheld Issue

    Submitted                                        Received via   Requester
    December 14, 2020, 10:19 AM                      Web Form       Mike Musheinesh <mike@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          Normal         Support (all)     Stephanie M.



    Stephanie M. December 14, 2020, 10:19 AM
    Mike texted Eric the below message from one of the handhelds. I just tried to reach Mike but got his VM. I also
    sent him a text to have whoever is having the issue to give us a call.




                                                                                           Detroit IT - Hearing 2-8-21 000023
https://detroitit.zendesk.com/tickets/473204/print                                                                              1/3
        Case 2:21-cv-10163-GAD-APP
1/24/2021                                            ECFhttps://detroitit.zendesk.com/tickets/473204/print
                                                          No. 28-18, PageID.1165 Filed 02/19/21 Page 7 of 29




    Stephanie M.
    Operations Coordinator                                                       Detroit IT - Hearing 2-8-21 000024
https://detroitit.zendesk.com/tickets/473204/print                                                                    2/3
        Case 2:21-cv-10163-GAD-APP
1/24/2021                                            ECFhttps://detroitit.zendesk.com/tickets/473204/print
                                                          No. 28-18, PageID.1166 Filed 02/19/21 Page 8 of 29
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Jason B. December 14, 2020, 11:06 AM
    I worked with Sean and we were unable to get the scan gun to connect to the WiFi.
    Sean was unable to type on the gun by the end of the call.
    We will have to work on this onsite. He left the scanner with a note with Lupita.

    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Stephanie M. December 21, 2020, 10:41 AM
    I spoke to Mike and we will look at the scanners that are not working from Ferndale when we are onsite installing
    the new scanners.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Stephanie M. December 29, 2020, 12:39 PM
    Mike let me know he has no handhelds that were having issues.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                   Detroit IT - Hearing 2-8-21 000025
https://detroitit.zendesk.com/tickets/473204/print                                                                      3/3
        Case 2:21-cv-10163-GAD-APP
1/24/2021                                                  ECFhttps://detroitit.zendesk.com/tickets/474673/print
                                                                No. 28-18, PageID.1167 Filed 02/19/21 Page 9 of 29

          #474673 2 scanners not connecting to Ozlink

    Submitted                                        Received via   Requester
    December 21, 2020, 12:20 PM                      Web Form       Mark Freese <mfreese@detroitaxle.com>

    Status        Type       Priority       Group            Assignee
    Closed        -          Normal         Scheduling       Stephanie M.



    Stephanie M. December 21, 2020, 12:20 PM
    Mark called and has 2 scan guns that are not connecting to the server. When he goes into the connections, he is
    asked if he should receive an IP from the server or specific IP. The two guns are from Ferndale and they are
    trying to use them in Mt. Elliot. I let Mark know that most likely we will need to come onsite to work on these
    scanners.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Stephanie M. December 21, 2020, 2:22 PM
    Hi Mark,

    We will need to come onsite to look at these devices. We will take a look at these 2 devices when we are onsite
    with the new devices.

    Thank you!
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Stephanie M. December 29, 2020, 11:01 AM
    Hi Mark,

    The new handhelds arrived so we will be onsite this afternoon to get them setup. Can you please make sure any
    scanners that were having issues are at the Mt. Elliot building.

    Thank you!
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Stephanie M. December 29, 2020, 12:39 PM
                                                                                           Detroit IT - Hearing 2-8-21 000026
https://detroitit.zendesk.com/tickets/474673/print                                                                              1/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                            ECFhttps://detroitit.zendesk.com/tickets/474673/print
                                                         No. 28-18, PageID.1168 Filed 02/19/21 Page 10 of 29
    Mike let me know that there were no handhelds that were still having issues. Closing ticket.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                   Detroit IT - Hearing 2-8-21 000027
https://detroitit.zendesk.com/tickets/474673/print                                                                      2/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/474143/print
                                                           No. 28-18, PageID.1169 Filed 02/19/21 Page 11 of 29

          #474143 Fwd: nancy G mail

    Submitted                                   Received via   Requester
    December 18, 2020, 9:39 AM                  Mail           Russ R <russ.rowan@detroitaxle.com>

    CCs
    Eric G. <eric@detroitit.com>

    Status        Type       Priority       Group           Assignee
    Closed        -          Normal         Support (all)   Jason B.



    Russ R December 18, 2020, 9:39 AM
    Please get this email working again for Nyan@detroitaxle.com

    ---------- Forwarded message ---------
    From: Spring Yang <syang@detroitaxle.com>
    Date: Fri, Dec 18, 2020 at 5:24 AM
    Subject: nancy G mail
    To: Russ R <russ.rowan@detroitaxle.com>

    Hi Russ,

    Nancy's G mail has been suspended, could you please check? （nyan@detroitaxle.com）

    Thank you,
    Spring

    --
    Axle of Dearborn Inc.
    Tel: 313-583-0000
    Fax: 313-583-0488
    Address: 2000 West 8 Mile
    Ferndale, MI 48220, USA
    Website: http://www.detroitaxle.com/ (http://detroitaxle.com/)

    Jason B. December 18, 2020, 2:08 PM
    Hi Russ,

    This account is active. Let me know if you need a password reset.




    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com


                                                                                       Detroit IT - Hearing 2-8-21 000028
https://detroitit.zendesk.com/tickets/474143/print                                                                          1/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                            ECFhttps://detroitit.zendesk.com/tickets/474143/print
                                                         No. 28-18, PageID.1170 Filed 02/19/21 Page 12 of 29
    Help Desk: 248-530-1001
    e: support@detroitit.com

    Russ R December 18, 2020, 2:22 PM
    They will need a password reset.

    Jason B. December 18, 2020, 2:24 PM
    I reset the password to
    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                   Detroit IT - Hearing 2-8-21 000029
https://detroitit.zendesk.com/tickets/474143/print                                                                      2/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/474206/print
                                                           No. 28-18, PageID.1171 Filed 02/19/21 Page 13 of 29

          #474206 Fwd: G-Mail

    Submitted                                   Received via   Requester
    December 18, 2020, 1:48 PM                  Mail           Russ R <russ.rowan@detroitaxle.com>

    CCs
    Eric G. <eric@detroitit.com>, Ossiel Villanueva <ovillanueva@detroitaxle.com>

    Status        Type       Priority       Group           Assignee
    Closed        -          Normal         Support (all)   Jason B.



    Russ R December 18, 2020, 1:48 PM
    Please handle this

    ---------- Forwarded message ---------
    From: Gabriel Cordova <gabriel@detroitaxle.com>
    Date: Fri, Dec 18, 2020 at 12:37 PM
    Subject: Fwd: G-Mail
    To: Russ R <russ.rowan@detroitaxle.com>, Ossiel Villanueva <ovillanueva@detroitaxle.com>
    Cc: Edna Ortega <eortega@detroitaxle.com>, Daniela Castro <daniela@detroitaxle.com>

    Russ,

    Can you please assist in resetting the mentioned agent email password. Ossiel has a heavy workload today...

    Eva Adriana Cervantes Quintero
    eva@detroitaxle.com

    ---------- Forwarded message ---------
    From: Gabriel Cordova <gabriel@detroitaxle.com>
    Date: Fri, Dec 18, 2020 at 8:02 AM
    Subject: G-Mail
    To: Ossiel Villanueva <ovillanueva@detroitaxle.com>
    Cc: Edna Ortega <eortega@detroitaxle.com>, Daniela Castro <daniela@detroitaxle.com>

    Ossiel,

    Can you assist in re-setting the following agents gmail...

    Eva Adriana Cervantes Quintero eva@detroitaxle.com

    --
    Thank you in advance,

    Gabriel Cordova Vacio
    Supervisor

    gabriel@detroitaxle.com
    Desk (248) 565-3111

    --
    Thank you in advance,

    Gabriel Cordova Vacio
    Supervisor


                                                                                       Detroit IT - Hearing 2-8-21 000030
https://detroitit.zendesk.com/tickets/474206/print                                                                          1/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                                ECFhttps://detroitit.zendesk.com/tickets/474206/print
                                                             No. 28-18, PageID.1172 Filed 02/19/21 Page 14 of 29
    gabriel@detroitaxle.com
    Desk (248) 565-3111

    --
    Axle of Dearborn Inc.
    Tel: 313-583-0000
    Fax: 313-583-0488
    Address: 2000 West 8 Mile
    Ferndale, MI 48220, USA
    Website: http://www.detroitaxle.com/ (http://detroitaxle.com/)

    Jason B. December 18, 2020, 2:05 PM
    Hi Russ,

    I reset the password to                          and copied Ossiel on this ticket.
    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                         Detroit IT - Hearing 2-8-21 000031
https://detroitit.zendesk.com/tickets/474206/print                                                                            2/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/474126/print
                                                           No. 28-18, PageID.1173 Filed 02/19/21 Page 15 of 29

          #474126 Unable to login

    Submitted                                   Received via      Requester
    December 18, 2020, 8:44 AM                  Web Form          Russ R <russ.rowan@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          Normal         Support (all)     Stephanie M.

    Current Password               Phone #
                                   586-219-5696


    Stephanie M. December 18, 2020, 8:44 AM
    Russ is unable to login to his computer. When trying to login, he is receiving a message that the password is
    incorrect. After resetting the password, he was able to login.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                          Detroit IT - Hearing 2-8-21 000032
https://detroitit.zendesk.com/tickets/474126/print                                                                             1/1
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                                 ECFhttps://detroitit.zendesk.com/tickets/473940/print
                                                              No. 28-18, PageID.1174 Filed 02/19/21 Page 16 of 29

          #473940 Unable to login to PC

    Submitted                                        Received via   Requester
    December 17, 2020, 11:41 AM                      Web Form       Kerri Adams <kadams@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          Normal         Support (all)     Jason B.

    Current Password
                                                      0


    Stephanie M. December 17, 2020, 11:41 AM
    Kerri is unable to login to her computer. When trying to login, she is receiving a message that her password is
    incorrect. This is happening after she changed her password yesterday.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Stephanie M. December 17, 2020, 11:44 AM
    I had the team reset Kerri's password and she confirmed she was able to login
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                           Detroit IT - Hearing 2-8-21 000033
https://detroitit.zendesk.com/tickets/473940/print                                                                              1/1
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/473725/print
                                                           No. 28-18, PageID.1175 Filed 02/19/21 Page 17 of 29

          #473725 Equipment that needs to be whitelisted

    Submitted                                   Received via      Requester
    December 16, 2020, 2:37 PM                  Mail              Ossiel Villanueva <ovillanueva@detroitaxle.com>

    CCs
    Ossiel Villanueva <juarezit@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          Normal         Support (all)     Jason B.



    Ossiel Villanueva December 16, 2020, 2:37 PM
    Hi, team.
    We require to whitelist these MAC addresses:




    Regards.

    --

    Ossiel Villanueva

    IT Manager

    Juárez, Chihuahua, México

    ovillanueva@detroitaxle.com

    +52 (656)-763-72-15 Mobile

    Jason B. December 17, 2020, 10:06 AM
    These MACs have been whitelisted.




    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                            Detroit IT - Hearing 2-8-21 000034
https://detroitit.zendesk.com/tickets/473725/print                                                                               1/1
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/473275/print
                                                           No. 28-18, PageID.1176 Filed 02/19/21 Page 18 of 29

          #473275 Email Password Reset

    Submitted                                   Received via    Requester
    December 14, 2020, 4:00 PM                  Web Form        Jacqueline Adams <jadams@detroitaxle.com>

    Status        Type       Priority       Group                    Assignee
    Closed        -          Normal         Account Management       Stephanie M.

    Current Password                           Phone #
                  (Password)                   480-322-7988 (Cell)


    Stephanie M. December 14, 2020, 4:00 PM
    Jacqueline is unable to login to her email account. When trying to log in, she is receiving a message that her
    password is incorrect. She will also need Cortnee's password reset as she is not able to get into that account
    either.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Stephanie M. December 15, 2020, 8:03 AM
    I texted Jacqueline to have her try logging into her email as we reset her password. Cortnee's password has
    already been reset to

    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Jacqueline Adams December 15, 2020, 1:39 PM
    Thank you for your help!

    Jacqueline Adams
    Human Resource Manager(Payroll)
    Detroit Axle/Axle Of Dearborn
    jadams@detroitaxle.com
    (248) 414-1081

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                                                                                        Detroit IT - Hearing 2-8-21 000035
https://detroitit.zendesk.com/tickets/473275/print                                                                           1/1
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/472216/print
                                                           No. 28-18, PageID.1177 Filed 02/19/21 Page 19 of 29

          #472216 Printing Issues

    Submitted                                  Received via      Requester
    December 9, 2020, 8:42 AM                  Web Form          Mark Freese <mfreese@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          Normal         Support (all)     Jason B.



    Stephanie M. December 9, 2020, 8:42 AM
    Mark reported that printing was not working. Jason was onsite this morning and printing should be working. If you
    are still having issues, please let us know.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                          Detroit IT - Hearing 2-8-21 000036
https://detroitit.zendesk.com/tickets/472216/print                                                                             1/1
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/471357/print
                                                           No. 28-18, PageID.1178 Filed 02/19/21 Page 20 of 29

          #471357 Equipment that need to be whitelisted

    Submitted                                   Received via      Requester
    December 5, 2020, 12:56 AM                  Mail              Ossiel Villanueva <ovillanueva@detroitaxle.com>

    CCs
    dina@detroitaxle.com <dina@detroitaxle.com>, Ossiel Villanueva <juarezit@detroitaxle.com>, Ricardo Robledo
    <rrobledo@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          -              Support (all)     Jason B.



    Ossiel Villanueva December 5, 2020, 12:56 AM
    Hi team,

    Idali and Jorge require access to social media, so please whitelist these computers:

    HP -
    Macs-MBP -

    Regards

    --

    Ossiel Villanueva

    IT Support Engineer

    Juárez, Chihuahua, México

    ovillanueva@detroitaxle.com

    +52 (656)-763-72-15 Mobile

    Jason B. December 5, 2020, 7:56 AM
    Hi Ossiel,

    I whitelisted the HP -                . I do not see the Macs-MBP -                  as ever being connected
    to the Juarez Meraki network. Please send another request once it has been connected and visible in the
    Meraki.

    Thanks,
    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                            Detroit IT - Hearing 2-8-21 000037
https://detroitit.zendesk.com/tickets/471357/print                                                                               1/1
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/472353/print
                                                           No. 28-18, PageID.1179 Filed 02/19/21 Page 21 of 29

          #472353 Ozlink down

    Submitted                                  Received via      Requester
    December 9, 2020, 5:41 PM                  Mail              James Johnson <jjohnson@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          -              Support (all)     Stephanie M.

    Submitted via
    Phone


    Pat December 9, 2020, 5:41 PM
    Eric Grundlehner,
    Your message from box 300-3889 is as follows...

    Date of Lead: 12/9/2020 5:41:43 PM
    Service Number: (248) 633-8707
    Mailbox Name: Eric Grundlehner
    Name: James Johnson
    Caller ID: (313) 657-8775
    Questions and Answers:
    What is your company name?

    May I have your email address?

    May I have your phone number please?
    313-657-8775

    Brief Description of the Issue:
    Scans are not working

    Is this an emergency?
    No

    PAT: Was the caller transferred?

    If YES: Who was the call transferred to?

    Comments

    This lead is for
    Wednesday

    Stephanie M. December 10, 2020, 7:58 AM
    I spoke to James last night and Ozlink was working.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                          Detroit IT - Hearing 2-8-21 000038
https://detroitit.zendesk.com/tickets/472353/print                                                                             1/1
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/473187/print
                                                           No. 28-18, PageID.1180 Filed 02/19/21 Page 22 of 29

          #473187 Adding Printer

    Submitted                                   Received via      Requester
    December 14, 2020, 9:14 AM                  Web Form          Aurora Stieber <astieber@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          Normal         Support (all)     Jason B.

    Current Password               Phone #
                                   586-943-0206


    Stephanie M. December 14, 2020, 9:14 AM
    Aurora needed help adding her computer to the Xerox 3652 printer that is near customer service.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Jason B. December 14, 2020, 9:21 AM
    I worked with Aurora to add the Main Xerox printer to her computer.
    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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                                                                                            Detroit IT - Hearing 2-8-21 000039
https://detroitit.zendesk.com/tickets/473187/print                                                                               1/1
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                                 ECFhttps://detroitit.zendesk.com/tickets/473928/print
                                                              No. 28-18, PageID.1181 Filed 02/19/21 Page 23 of 29

          #473928 Unable to print

    Submitted                                        Received via   Requester
    December 17, 2020, 10:24 AM                      Web Form       Marcie Pearce <mpearce@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          Normal         Support (all)     Jason B.

    Phone #
    586-822-1487


    Stephanie M. December 17, 2020, 10:24 AM
    Marcie is having issues printing anything to the printers in the office.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Jason B. December 17, 2020, 12:51 PM
    Hi Marcie,

    I called 586-822-1487 and reached the voicemail. Is there a better number to reach you at?

    Thanks,

    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Marcie Pearce December 17, 2020, 12:52 PM
    No call back I just had it on silent.

    From: Jason B. (Detroit IT Help Desk) <support@detroitit.com>
    Sent: Thursday, December 17, 2020 12:51 PM
    To: Marcie Pearce <mpearce@detroitaxle.com>
    Subject: [Detroit IT Help Desk] Re: Unable to print

    Jason B. December 17, 2020, 1:29 PM
    I worked with Marcie to restart the main printer and install her printer on the server and test printing.
    Marcie is able to print to both now.
    This has been resolved.
    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com
                                                                                           Detroit IT - Hearing 2-8-21 000040
https://detroitit.zendesk.com/tickets/473928/print                                                                              1/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                            ECFhttps://detroitit.zendesk.com/tickets/473928/print
                                                         No. 28-18, PageID.1182 Filed 02/19/21 Page 24 of 29
    Help Desk: 248-530-1001
    e: support@detroitit.com

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https://detroitit.zendesk.com/tickets/473928/print                                                                      2/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/477433/print
                                                           No. 28-18, PageID.1183 Filed 02/19/21 Page 25 of 29

          #477433 Program Download

    Submitted                                Received via       Requester
    January 5, 2021, 12:02 PM                Web Form           Mark Freese <mfreese@detroitaxle.com>

    Status        Type       Priority       Group             Assignee
    Closed        -          Normal         Support (all)     Stephanie M.

    Phone #
    248-302-7057


    Stephanie M. Jan 5, 12:02 PM
    Mark needs help installing the Free Barcoscanner program and when trying to download the program, he is
    receiving a message that he needs an admin. I will reach out to Mike for approval and once approved the request
    will be assigned to a tech.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Stephanie M. Jan 12, 8:42 AM
    I never heard back from Mike regarding this. Once I receive approval, we can assist with this.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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https://detroitit.zendesk.com/tickets/477433/print                                                                             1/1
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/479167/print
                                                           No. 28-18, PageID.1184 Filed 02/19/21 Page 26 of 29

          #479167 Computer Password Reset

    Submitted                                Received via    Requester
    January 11, 2021, 7:17 PM                Mail            Wasfeh Musheinesh <wmusheinesh@detroitaxle.com>

    Status        Type       Priority       Group           Assignee
    Closed        -          Normal         Support (all)   Jason B.

    Phone #                Submitted via
    313-409-1441           Phone


    Pat Jan 11, 7:17 PM
    Eric Grundlehner,
    Your message from box 300-3889 is as follows...

    Date of Lead: 1/11/2021 7:17:39 PM
    Service Number: (248) 633-8707
    Mailbox Name: Eric Grundlehner
    Name: Wasfeh Musheinesh
    Caller ID: (313) 409-1441
    Questions and Answers:
    What is your company name?
    Detriot Axle

    May I have your email address?

    May I have your phone number please?
    313-409-1441

    Brief Description of the Issue:
    The caller stated he need a password reset.

    Is this an emergency?
    Yes

    PAT: Was the caller transferred?
    No-Message Taken

    If YES: Who was the call transferred to?

    Comments

    This lead is for
    Monday

    Stephanie M. Jan 12, 7:59 AM
    I'm reaching out to Mike for approval to work on this.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

    Stephanie M. Jan 12, 4:39 PM                                                      Detroit IT - Hearing 2-8-21 000043
https://detroitit.zendesk.com/tickets/479167/print                                                                         1/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                            ECFhttps://detroitit.zendesk.com/tickets/479167/print
                                                         No. 28-18, PageID.1185 Filed 02/19/21 Page 27 of 29
    I reached out to Mike and did not hear back.
    Stephanie M.
    Operations Coordinator
    P: 248-530-1001
    E: Stephanie@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com

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https://detroitit.zendesk.com/tickets/479167/print                                                                      2/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                              ECFhttps://detroitit.zendesk.com/tickets/479526/print
                                                           No. 28-18, PageID.1186 Filed 02/19/21 Page 28 of 29

          #479526 Your message from PATLive, 01/13/2021

    Submitted                                Received via    Requester
    January 13, 2021, 7:33 AM                Mail            James Johnson <jjohnson@detroitaxle.com>

    Status        Type       Priority       Group           Assignee
    Closed        -          Normal         Support (all)   Jason B.

    Submitted via
    Phone


    Pat Jan 13, 7:33 AM
    Eric Grundlehner,
    Your message from box 300-3889 is as follows...

    Date of Lead: 1/13/2021 7:33:43 AM
    Service Number: (248) 633-8707
    Mailbox Name: Eric Grundlehner
    Name: James Johnson
    Caller ID: (313) 657-8775
    Questions and Answers:
    What is your company name?
    Detroit Axle

    May I have your email address?
    jamesjohnsonjae4@gmail.com

    May I have your phone number please?
    313-657-8775

    Brief Description of the Issue:
    Mr. Johnson said the scan guns are not working.

    Is this an emergency?
    Yes

    PAT: Was the caller transferred?
    Yes

    If YES: Who was the call transferred to?

    Comments

    This lead is for
    Wednesday

    Jason B. Jan 13, 7:41 AM
    I spoke with James, fixed OZlink and tested.
    The scan guns are working now.
    Jason B.
    Service Desk Technician
    P: 248-530-1001
    E: Jason@detroitit.com

    Help Desk: 248-530-1001
    e: support@detroitit.com
                                                                                       Detroit IT - Hearing 2-8-21 000045
https://detroitit.zendesk.com/tickets/479526/print                                                                          1/2
       Case 2:21-cv-10163-GAD-APP
1/24/2021                                            ECFhttps://detroitit.zendesk.com/tickets/479526/print
                                                         No. 28-18, PageID.1187 Filed 02/19/21 Page 29 of 29
                                                     Support Software by Zendesk




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https://detroitit.zendesk.com/tickets/479526/print                                                                      2/2
